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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
Plaintiff,
V. Case No. 1:19-cv-02232 (TJK)
DEUTSCHE TELEKOM AG, ef ai.,

Defendants.

DECLARATION OF JOHN SWIERINGA IN SUPPORT OF DEFENDANT DISH
NETWORK CORPORATION’S MOTION FOR RELIEF FROM JUDGMENT

I, John Swieringa, hereby declare as follows:

1. I am the President of Technology and Chief Operating Officer of DISH
Network Corporation (“DISH”), a Defendant in the above-captioned action. I submit this
declaration in support of the Motion for Relief from Judgment (“Motion”), filed concurrently
herewith, to place before the Court certain documents and information relevant to the Motion.!

2. Attached hereto as Exhibit 1 is a true and correct copy of relevant excerpts
of the Final Judgment in this action, as issued by this Court on April 1, 2020.

3. Following entry of the Final Judgment, DISH has made steady progress in
deploying its SG wireless network. In 2020, DISH had not yet deployed a single 5G tower, and
the wireless technology it sought to utilize was unknown and untested. As of June 14, 2023,
DISH’s 5G network offers 5G broadband service to more than 73 percent of the United States

population, covering more than 246 million Americans with more than 16,000 deployed 5G sites.

1 Defined terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Motion.
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4. At the same time, DISH also completed another technology transition—it
migrated millions of Boost customers from the legacy Sprint CDMA network to T-Mobile’s
network on an accelerated timeline that T-Mobile announced post-merger, which required DISH
to incur hundreds of millions of dollars in additional, unanticipated expenses to ensure its customer
base retained service.

5. In many areas nationwide, DISH’s uplink capacity is constrained. DISH’s
acquisition of the 800 MHz spectrum from T-Mobile will double its uplink capacity in those areas,
making DISH’s offerings more competitive.

6. DISH’s 5G deployment efforts also included significant financial
investments, specifically relating to the 800 MHz spectrum. These investments reflect the
competitive importance of the 800 MHz frequencies as valuable low-band spectrum that is
important to enhance DISH’s network offerings. Recognizing the importance of this spectrum for
its network deployment, DISH has already spent more than $1 billion to support the 800 MHz
spectrum. Specifically, DISH included radios compatible with 800 MHz on the more than 16,000
towers it has already deployed, meaning 800 MHz spectrum can be made available to customers
immediately upon acquisition of the licenses.

7. DISH is not aware of any other party that has deployed 5G radios
compatible with 800 MHz spectrum (including T-Mobile) nationwide, meaning it could be years
before any owner of this spectrum would be able to put it to use for consumers.

8. While DISH was able to raise a total of $3.5 billion of debt in November
2022 and January 2023 for capital spending, it was forced to agree to effective interest rates above

12% and other burdensome conditions.
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9. Attached hereto as Exhibit 2 is a true and correct copy of relevant excerpts
of the License Purchase Agreement (the “LPA”) between DISH and T-Mobile as executed on July
1, 2020. The excerpted pages included in Exhibit 2 previously were made public in DISH’s report
on Form 10-Q (Exhibit 10.5) filed with the Securities & Exchange Commission on November 6,
2020.

10. Attached hereto as Exhibit 3 is a true and correct copy of an e-mail from
DISH’s counsel to the Division, dated March 13, 2023, requesting a 60-day extension of the
800 MHz Spectrum Licenses Transfer provision of Section IV.B.1 of the Final Judgment.

11. Attached hereto as Exhibit 4 is a true and correct copy of an e-mail from
T-Mobile to DISH, dated March 30, 2023, regarding their mutual agreement that T-Mobile would
not notice a breach of the LPA until the Division responded to DISH’s request for an extension.

12. Attached hereto as Exhibit 5 is a true and correct copy of a letter from
T-Mobile to DISH, dated June 1, 2023, asserting that DISH is in material breach of the LPA with
respect to its Section 5.5 obligations.

13. Attached hereto as Exhibit 6 is a true and correct copy of a letter from the
Division to DISH and T-Mobile, dated June 20, 2023, inviting DISH and T-Mobile to submit their
respective positions “on the interpretation of Section XVID of the Final Judgment as it pertains
to whether the Division must consent to the termination of the parties’ July 1, 2020 [LPA].”

14. Attached hereto as Exhibit 7 is a true and correct copy of a letter from

DISH’s counsel to T-Mobile, dated June 30, 2023, explaining that “T-Mobile cannot terminate the

2 See Exhibit 10.5, Form 10-Q (Q3 2020), DISH Networks Corp. (as filed Nov. 6, 2020),
https://www.sec.gov/Archives/edgar/data/1001082/000155837020013008/dish-20200930xex10d5.htm.

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LPA . .. without first obtaining the consent of the United States” and that DISH needed additional
time to acquire the 800 MHz licenses.

15. Attached hereto as Exhibit 8 is a true and correct copy of a letter from the
Division to DISH and T-Mobile, dated July 28, 2023, in which the Division (1) “decline[d] to
exercise any right it may have to withhold its consent to T-Mobile’s termination of the [LPA],”
(2) explained that it “continues to have concerns that the divestiture of the 800 MHz spectrum to
DISH may be so important to DISH replacing the competition lost by T-Mobile’s acquisition of
Sprint that changed facts and circumstances may justify an order modification,” and (3) declined
to “take a position on the merits of any potential motion” until such a motion was filed.

16. Attached hereto as Exhibit 9 is a true and correct copy of a letter from
T-Mobile to DISH, dated August 10, 2023, indicating T-Mobile’s unilateral termination of the
LPA, effective August 17, 2023, unless DISH files its application for the 800 MHz spectrum
transfer with the FCC beforehand.

17. Attached hereto as Exhibit 10 is a true and correct copy of DISH and T-
Mobile’s August 16, 2023 Description of Transaction and Public Interest Statement, which
accompanied the application to the FCC for the Commission’s consent to the transfer of the 800

MHz spectrum pursuant to the LPA with T-Mobile.

[Signature Page Follows]
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I declare under penalty of perjury that the foregoing is true and correct.

Executed on August 17, 2023
Littleton, Colorado

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John Swieringa
